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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 THE TERRACES CONDOMINIUM
 ASSOCIATION, an Illinois not-for-profit-
 corporation,

         Plaintiff,                                  Case No. 19-CV-6028

         v.

 INSURANCE COMPANY OF GREATER
 NEW YORK,

         Defendant.


                                   JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order Numbers 24 and 28, Plaintiff THE TERRACES
CONDOMINIUM ASSOCIATION (“Plaintiff” or “Terraces”), and Defendant INSURANCE
COMPANY OF GREATER NEW YORK (“Defendant” or “GNY”) submit the following Joint
Status Report:

       A. Whether Parties on track to Complete Fact Discovery by the Extended Deadline
          (9/1/2020)

       Parties are currently exchanging written discovery but have not taken or noticed any
depositions. In light of the disruptions posed by COVID 19 the parties believe that a fact
discovery cutoff on 9/30 is more realistic than the current deadline of 9/1.

       B. Whether Parties Require Expert Discovery

       Expert Discovery will be required due to the nature of the loss and disagreements as to
cause of loss.

       C. Whether Motions for Summary Judgment will be Filed on Either Side.

Given that the issues in the case turn on the interpretation and application of insurance policy
provisions, the parties believe it is likely that some of the claims and defenses will be the subject
of dispositive motions.
